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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                   UNITED STATES DISTRICT COURT
 7
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

 9    GERALD WILLIAMS,                                     CASE NO. C19-0444-JCC
10                              Plaintiff,                 MINUTE ORDER
11            v.

12    THOMAS VILSACK,

13                              Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          The Court ordered the parties to submit a joint status report proposing (a) a deadline to
18   complete limited expert discovery, (b) a deadline for motions practice on the same, and (c) a new
19   trial date (Dkt. No. 75 at 5–6.) The parties have done so. (Dkt. No. 76). Based on the parties’
20   joint status report, the Court hereby ORDERS as follows.
21          a. Dr. Tapia will be deposed on November 12, 2021, in accordance with the parties’
22                 agreement.
23          b. Any motions challenging Dr. Tapia’s opinions on future economic losses must be
24                 filed by December 2, 2021; any such motions must be noted and briefed as a third-
25                 Friday motion under Local Civil Rule 7(d)(3).
26          c. Trial is set for February 7, 2022, at 9:30 am.


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 1              i.   The joint proposed pretrial order is due January 24, 2022.

 2             ii.   Trial briefs, proposed voir dire, and joint proposed jury instructions and

 3                   verdict forms are due January 28, 2022.

 4            iii.   The Court has already disposed of the parties’ motions in limine. (Dkt. Nos.

 5                   69, 70.) The parties should consult and comply with the Court’s Chambers

 6                   Procedures available on the Court’s website.

 7        d. Any relief Plaintiff seeks with respect to “Remaining Issues,” (Dkt. No. 76 at 3–4) is

 8           beyond the scope of the Court’s order (Dkt. No. 75 at 5–6) and is therefore DENIED
 9           without prejudice. The Court expects the parties to work together in a civil and
10           collaborative manner. Logistical disputes such as what Plaintiff presents should be
11           resolved without Court intervention unless absolutely necessary.
12        DATED this 9th day of November 2021.
                                                         Ravi Subramanian
13                                                       Clerk of Court
14
                                                         s/Sandra Rawski
15                                                       Deputy Clerk

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